Case 1:16-cr-10305-NMG Document 340 Filed 12/21/18 Page 1 of 9

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| Case 1:16-cr-10305-NMG Document 340 Filed 12/21/18 Page 2 of 9

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Case 1:16-cr-10305-NMG Document 340 Filed 12/21/18 Page 3 of 9

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Case 1:16-cr-10305-NMG Document 340 Filed 12/21/18 Page 5 of 9

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Case 1:16-cr-10305-NMG Document 340 Filed 12/21/18 Page 7 of 9

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Case 1:16-cr-10305-NMG Document 340 Filed 12/21/18 Page 9 of 9

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